IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 15

THE IRISH BANK RESOLUTION Case No. 13-12159 (CSS)
CORPORATION LIMITED

(IN SPECIAL LIQUIDATION) Related Docket No. 633

Debtor in a foreign proceeding.

 

ORDER

Upon consideration of the Motion of Paddy McKillen, Anthony Leonard and
Clarendon Properties Limited for an Order (I) Determining that the Automatic Stay Does
Not Apply or (II) Granting Relief from the Automatic Stay in Order to File and Adversary
Complaint (the “Motion”) [D.I. 633] filed on July 13, 2018; the Court having reviewed the
Motion and the responses thereto; the Court having heard the statements of counsel and
parties in interest regarding the Motion at a hearing before the Court on October 31, 2018
(the “Hearing”); the Court having found that (i) the Court has jurisdiction over this matter
pursuant to 28 U.S.C. §§ 157 and 1334, (ii) notice of the Motion and the Hearing were
sufficient notice under the circumstances; and (iii) the Court has judicial power to enter
a final order.

IT IS HEREBY ORDERED THAT, for the reasons set forth at the Hearing, the

Motion is Denied. ) “ , / )
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Christopher S. Sontchi
Chief United States Bankruptcy Judge

Dated: October 31, 2018

 
